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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

     DAGOBERTO GILB,                  §
         Plaintiff,                   §
                                      §
   v.                                 §    CIVIL ACTION NO. 1:19-cv-00831-RP
                                      §
   UNIVERSITY OF HOUSTON AT           §
   VICTORIA,                          §
         Defendant.                   §
______________________________________________________________________________

                            SCHEDULING ORDER
______________________________________________________________________________

       Pursuant to Federal Rule of Civil Procedure 16, the following Scheduling Order is issued

by the Court:

1.     A report on alternative dispute resolution in compliance with Local Rule CV-88 shall be

       filed on or before December 16, 2019 .

2.     The parties asserting claims for relief shall submit a written offer of settlement to opposing

       parties on or before January 17, 2020, and each opposing party shall respond, in writing,

       on or before January 27, 2020. All offers of settlement are to be private, not filed. The

       parties are ordered to retain the written offers of settlement and responses so the Court may

       use them in assessing attorney’s fees and costs at the conclusion of the trial.

3.     Each party shall complete and file the attached “Notice Concerning Reference to United

       States Magistrate Judge” on or before November 19, 2019.

4.     The parties shall file all motions to amend or supplement pleadings or to join additional

       parties on or before May 15, 2020.


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5.   All parties asserting claims for relief shall file their designation of testifying experts and

     serve on all parties, but not file, the materials required by Federal Rule of Civil Procedure

     26(a)(2)(B) on or before June 5, 2020. Parties resisting claims for relief shall file their

     designation of testifying experts and serve on all parties, but not file, the materials required

     by Federal Rule of Civil Procedure 26(a)(2)(B) on or before June 26, 2020. All parties

     shall file all designations of rebuttal experts and serve on all parties the material required

     by Federal Rule of Civil Procedure 26(a)(2)(B) for such rebuttal experts, to the extent not

     already served, 15 days from the receipt of the report of the opposing expert.

6.   An objection to the reliability of an expert’s proposed testimony under Federal Rule of

     Evidence 702 shall be made by motion, specifically stating the basis for the objection and

     identifying the objectionable testimony, within 11 days from the receipt of the written

     report of the expert’s proposed testimony, or within 11 days from the completion of the

     expert’s deposition, if a deposition is taken, whichever is later.

7.   The parties shall complete all discovery on or before September 25, 2020.

8.   All dispositive motions shall be filed on or before October 23, 2020 and shall be limited

     to 20 pages. Responses shall be filed and served on all other parties not later than 14 days

     after the service of the motion and shall be limited to 20 pages. Any replies shall be filed

     and served on all other parties not later than 7 days after the service of the response and

     shall be limited to 10 pages, but the Court need not wait for the reply before ruling on the

     motion.

9.   The Court will set this case for final pretrial conference at a later time. The final pretrial

     conference shall be attended by at least one of the attorneys who will conduct the trial for


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      each of the parties and by any unrepresented parties. The parties should consult Local Rule

      CV-16(e) regarding matters to be filed in advance of the final pretrial conference.

      The parties shall not complete the following paragraph. It will be completed by the

      Court at the initial pretrial conference to be scheduled by the Court.

10.   This case is set for ______________ trial commencing at 9:00 a.m. on

      ___________________________________________, 20________.

      By filing an agreed motion, the parties may request that this Court extend any deadline set

      in this Order, with the exception of the dispositive motions deadline and the trial date. The

      Court may impose sanctions under Federal Rule of Civil Procedure 16(f) if the parties do

      not make timely submissions under this Order.



      SIGNED on ___________________________________________, 20_____.



                                            __________________________________
                                            ROBERT PITMAN
                                            UNITED STATES DISTRICT JUDGE




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